. Case 3:12-cv-03022-TLB Document 159-2 Filed 05/20/14 Page 1-of 22 PagelD #: 781

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Case 3:12-cv-03022-TLB Document 159-2 Filed 05/20/14 Page 6 of 22 P gelD #: 786

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Boone County Detention Center
Inmate Grievance Form

Inmate Name: Ve S i Pod

Date: 2e(4- 12 .
, /
Directed To:

Medical

—_——

Booking

—_—_—

Jason Day (Jail Administrator)

State Your Grievance (As Briefly As Possible): .
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Sig

nature of Inmate Writing Grievance: a :

Date:

‘Grievance Received By Officer:

Response:

Signature of Responding Officer: Date: oO / MG / JAY.

Ifyou would like to appeal the response; you may do so by filling out
another Grievance and it will be decided by the Sgt. Or Cpl. that shift

and/or Jason Day (Jail Administrator).

EXHIBIT.

Case 3:12-cv-03022-TLB Document 159-2 Filed 05/20/14 Page 8 of 22 PagelD #: 788

Boone County Detention Center
Inmate Grievance Form

Inmate Name: Duwid St, ehbin 5 Pad bs &

pate b>) 3 Z

Directed To:

Medical
Booking
X Jason Day (Jail Administrator)

Other (Identify Other Person)

State Your Grievance (As Briefly As Possible):
I. hope te det an ans er te the three Jeffers

wrote you~ eves the weekend, Pagbs sometime.

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Signature of Inmate Writing Grievance: Ba oll Vv Tl by2——
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Grievance Received By Officer: Date: //), 3

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Date: af sha.

Signature of Responding Officer: 2

If you would like to appeal the response; you may do so by filling out
another Grievance and it will be decided by the Sgt. Or Cpl. that shift

and/or Jason Day (Jail Administrator).

DEFENDANT'S
i EXHIBIT

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|| 2B):30 i!
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i#sponsible nor would we pay him money to secure living arrangements.
: ‘Also concerning the Ee of Stebbins stating that he and I are getting along better did I
| i lieve him to be innocent? I told him the reason we are getting along is he is now
ir i lowing rules and not causing problems, I also stated I don’t care what he is charged
with nor do J believe:he is guilty or not that is not my job. My job is to house him in an
\ appropriate facility. :
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5/20/14 Page 14 of 22 PagelD #: 794

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5/20/14 Page 17 of 22 PagelD #: 797

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Signature of Responding Officer:

Boone County Detention Center
Inmate Grievance Form

Inmate Names Dav Z te bbins
Date: 2 Qe oe

Directed To:

Pod GZ.

Medical

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Booking

. A Jason Day (Jail Administrator)

Other (Identify Other Person)
State Your Grievance i
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Signature of Inmate Writing Grievance:

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Ifyou would like to appeal the response; you may
another Grievance and it will be decided by the Sgt. Or Cpl. that shift

and/or Jason Day (Jail Administrator).

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Boone County Detention Center
Inmate Grievance Form

Inmate Name: DA vid 57 ebbins
pate: # Feb bx, gale

Directed To:
Medical

Booking
X Jason Day (Jail Administrator)

o_o

Other (Identify Other Person)
state Your Grievance (As Briefly ‘As Possible):

Page 19 of 22 PagelD #: 799

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Grievance Received BY Officer: .

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Aire with the sul section completed. The Appeal will be acca
by Corporal Neckles or Jason Day’ (Jail Administrator).

DEFENDANT'S
; EXHIBIT

Date; January 12, 2012
Time: 20:45
Subj.: Stebbins, David’s broken glasses

David Stebbins gave Cpl. P. Goodman permission to give his broken eye glasses to his
jawyer for repair.

Detainee signature Officer Signature

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ie Document 159-2 Filed 05/20/14 Page 22 of 22 PagelD #: 802

DANNY HICKMA:.
BOONE COUNTY SHERIFF

Boorie County Sheriff's Department

5800 Law Drive -. _ - | Harrison, Arkansas 72601

870-741-8404 Fax: 870-741-6038

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